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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

LUZ MARIA LUEVANOS,

              Plaintiff,

v.                                                      No. CV 20-993 RB/CG

WORLD WIDE TECHNOLOGY, LLC, AND
BG STAFFING, INC.,

              Defendants.

                                 SCHEDULING ORDER

       In accordance with the Civil Justice Expense and Delay Reduction Plan adopted

in compliance with the Civil Justice Reform Act, and pursuant to Title 28 U.S.C. §

473(a)(1), this case is assigned to a “180-day” discovery track. Accordingly, the

termination date for discovery is May 3, 2021, and discovery shall not be reopened, nor

shall case management deadlines be modified, except by an order of the Court upon a

showing of good cause. This deadline shall be construed to require that discovery be

completed on or before the above date.

       Before moving for an order relating to discovery, the parties may request a

conference with the Court in an attempt to resolve the dispute. Service of interrogatories

or requests for production shall be considered timely only if the responses are due prior

to the deadline. A notice to take deposition shall be considered timely only if the

deposition takes place prior to the deadline. The pendency of dispositive motions shall

not stay discovery.
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       Motions relating to discovery (including, but not limited to, motions to compel and

motions for protective order) shall be filed with the Court and served on opposing

parties by May 24, 2021. See D.N.M.LR-Civ. 7 for motion practice requirements and

timing of responses and replies. This deadline shall not be construed to extend the

twenty-day time limit in D.N.M.LR-Civ. 26.6.

       Plaintiffs shall identify to all parties in writing any expert witness to be used by

Plaintiffs at trial and to provide expert reports pursuant to Fed. R. Civ. P. 26(a)(2)(B) no

later than February 2, 2021. All other parties shall identify in writing any expert witness

to be used by such parties at trial and to provide expert reports pursuant to Fed. R. Civ.

P. 26(a)(2)(B) no later than March 4, 2021.

       Pretrial motions, other than discovery motions, shall be filed with the Court and

served on the opposing party by June 3, 2021. See D.N.M.LR-Civ. 7 for motion practice

requirements and timing of responses and replies. Any pretrial motions, other than

discovery motions, filed after the above dates shall, in the discretion of the Court, be

considered untimely. If documents are attached as exhibits to motions, affidavits or

briefs, those parts of the exhibits that counsel want to bring to the attention of the Court

must be highlighted in accordance with D.N.M.LR-Civ. 10.6.

       Plaintiffs shall have until December 15, 2020, to join additional parties and to

amend the pleadings. Defendants shall have until January 15, 2021, to join additional

parties and to amend the pleadings.

       Counsel are directed to file a consolidated final Pretrial Order as follows:

Plaintiffs to Defendants on or before July 19, 2021; Defendants to Court on or before

August 2, 2021. Counsel are directed that the Pretrial Order will provide that no
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witnesses except rebuttal witnesses whose testimony cannot be anticipated, will be

permitted to testify unless the name of the witness is furnished to the Court and

opposing counsel no later than thirty (30) days prior to the time set for trial. Any

exceptions thereto must be upon order of the Court for good cause shown

       IT IS SO ORDERED.




                                    THE HONORABLE CARMEN E. GARZA
                                    CHIEF UNITED STATES MAGISTRATE JUDGE




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